Case 3:04-cr-30139-SMY                Document 956 Filed 03/30/09               Page 1 of 1       Page ID
                                               #2333



                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,                             )
                                                      )
                         Plaintiff,                   )
                                                      )
vs.                                                   )   CRIMINAL NO. 04-30139-14-GPM
                                                      )
JOSIAH COMPTON,                                       )   APPEAL NO. 09-1722
                                                      )
                         Defendant.                   )


                             MEMORANDUM AND ORDER
MURPHY, District Judge:

        On March 16, 2009, this Court re-sentenced Compton pursuant to the Seventh Circuit’s mandate.

Compton filed a notice of appeal at the conclusion of the hearing, and the appeal has been docketed in the

Seventh Circuit Court of Appeals (Appeal No. 09-1722). Now Compton has filed a “motion to dismiss

notice of appeal” in the district court (see Doc. 954).

        Federal Rule of Appellate Procedure 42(b) provides:

                The circuit clerk may dismiss a docketed appeal if the parties file a signed
                dismissal agreement specifying how costs are to be paid and pay any fees
                that are due. But no mandate or other process may issue without a court
                order. An appeal may be dismissed on the appellant’s motion on terms
                agreed to by the parties or fixed by the court.

FED. R. APP. P. 42(b). The district court can only dismiss an appeal before an appeal has been docketed in

the Court of Appeals. FED. R. APP. P. 42(a).

        Accordingly, this Court lacks jurisdiction to grant the relief requested, and the instant motion (Doc.

954) is DENIED.

        IT IS SO ORDERED.

        DATED: 03/30/09

                                                          s/ ZA ctàÜ|v~ `âÜÑ{ç
                                                          G. Patrick Murphy
                                                          United States District Judge
